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GAS 245B          (Rev. 06/18) Judgment in a Criminal Case
DC Custody TSR

                                                                                                                 U.L;. U)o"l K;C1 CO'lf. i
                                          United States District Court ■
                                                      SOUTHERN DISTRICT OF GEORGIA                              20I9NOV27 PM 12^ 19
                                                                 AUGUSTA DIVISION

             UNITED STATES OF AMERICA                                             JUDGMENT IN A
                                   V.                                                                               SO. uioV. tjr UA.
                   Gwendolyn Johnson-Hill
                                                                                  Case Number:                 l:19CR00024-2

                                                                                     USM Number:               23009-021




                                                                                  Andrew Murdison
THE DEFENDANT:                                                                    Defendant's Attorney

S pleaded guilty to a lesser included offense of Count 2.
□ pleaded nolo contendere to Count(s)                          which was accepted by the court.
□ was found guilty on Count(s)                          after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                                  Offense Ended           Count


21 U.S.C. § 841(a)(1),            Distribution of methamphetamine (mixture)                                           May 10,2017              2
21 U.S.C. §841(b)(l)(C)

      The defendant is sentenced as provided in pages 2 through                        of this Judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
□ The defendant has been found not guilty on Count(s)
IS Count i is dismissed as to this defendant on the motion of the United States.

          It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this Judgment are fully paid. If ordered to pay
restitution, the defendant must notify the Court and United States Attorney of material changes in economic circumstances.

                                                                              November 25.2019
                                                                              Date of Imposition of Judgment




                                                                              Signature outage



                                                                              J. RANDAL HALL, CHIEF JUDGE
                                                                              UNITED STATES DISTRICT COURT
                                                                              SOUTHERN DISTRICT OF GEORGIA
                                                                              Name and Tide of Judge



                                                                              Dale
                                                                                      /j/jnjzeif
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                                                                  IMPRISONMENT

            The defendant is hereby committed to the custody ofthe Federal Bureau of Prisons to be imprisoned for a total
            term of: 57 months.




     Kl    The Court makes the following recommendations to the Bureau of Prisons:
           It is recommended that the defendant be designated to PCI Coleman, Sumterville, Florida, subject to capacity or any other
           regulation affecting such a designation. It is ftirther recommended that the defendant be evaluated by Bureau of Prisons officials
           to establish her participation in an appropriate program of substance abuse treatment and counseling, including the Residential
           Drug Abuse Program(RD AP), during her term of incarceration.


     Kl     The defendant is remanded to the custody ofthe United States Marshal.

     □      The defendant shall surrender to the United States Marshal for this district:

          □      at                                  □     a.m.     □ p.m.          on
          □      as notified by the United States Marshal.

     □     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          □      before 2 p.m. on
          □      as notified by the United States Marshal.
          □      as notified by the Probation or Pretrial Services Office.


                                                                       RETURN

I have executed this Judgment as follows:




          Defendant delivered on                                                              to

at                                                       , with a certified copy of this judgment.


                                                                                                        UNITED STATES MARSHAL




                                                                               By
                                                                                                     DEPUTY UNifED STATES MARSHAL
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                                                        SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of: 3 years.

                                                    MANDATORY CONDITIONS

1.    You must not commit another federal, state, or local crime.
2.    You must not unlawfully possess a controlled substance.
3.    You must refrain from any unlawful use of a controlled substance. You must submit to 1 drug test within 15 days of release
      from imprisonment and at least 2 periodic drug tests thereafter, as determined by the court.
      □ The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
      substance abuse. (Check, ifapplicable.)
4.    13 You must cooperate in the collection of DNA as directed by the probation officer. (Check, ifapplicable.)
5.    □ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
      directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
      works, is a student, or was convicted of a qualifying offense. (Check, ifapplicable.)
6.    □ You must participate in an approved program for domestic violence. (Check, ifapplicable.)
7.    □ You must make restitution in accordance with 18 §§ U.S.C. 2248,2259, 2264, 2327, 3663, 3663A, and 3664. (Check, ifapplicable.)
8.    You must pay the assessment imposed in accordance with 18 § U.S.C. 3013.

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions
on the attached page.
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                                      STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions ofsupervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

  1.   You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
       release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
       time frame.

  2.   After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
       when you must report to the probation officer, and you must report to the probation officer as instructed.
  3.   You must not knowingly leave the federal Judicial district where you are authorized to reside without first getting permission from
       the court or the probation officer.
  4.   You must answer truthfully the questions asked by your probation officer.
  5.   You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
       arrangements(such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
       the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
       hours of becoming aware of a change or expected change.
  6.   You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
       officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
  7.   You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
       doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
       you from doing so. If you plan to change where you work or anything about your work (such as your position or your Job
       responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least
       10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
       becoming aware of a change or expected change.
  8.   You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has
       been convicted of a felony, you must not knowingly communicate or interact with that person without first getting the
       permission of the probation officer.
  9.   If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
 10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e. anything that was
       designed, or was modified for, the specific purpose ofcausing bodily injury or death to another person such as a nunchakus or tasers).
 11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
       first getting permission from the court.
 12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
       require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
       person and confirm that you have notified that person about the risk.
 13.   You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provide me with a written copy of this Judgment
containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised Release
Conditions, available at: www.uscourts.gov.

Defendant's Signature                                                                                Date
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                                      SPECIAL CONDITIONS OF SUPERVISION


 1. You must submit to substance abuse testing to determine if you have used a prohibited substance. You must not attempt to obstruct
     or tamper with the testing methods.

 2. You must participate in a mental health treatment program and follow the rules and regulations ofthat program. The probation officer,
    in consultation with the treatment provider, will supervise your participation in the program. You must pay the costs of treatment in
    an amount to be determined by the probation officer, based on your ability to pay or availability of third-party payment.

 3. You must provide the probation officer with access to any requested financial information and authorize the release of any financial
    information. The probation office may share financial information with the U.S. Attorney's Office.

 4. You must submit your person, property, house, residence, office, vehicle, papers, computers (as defined in 18 U.S.C. § 1030(e)(1)),
    other electronic communications or data storage devices or media, to a search conducted by a United States probation officer. Failure
    to submit to a search may be grounds for revocation of release. You must warn any other occupants that the premises may be subject
    to searches pursuant to this condition. The probation officer may conduct a search under this condition only when reasonable suspicion
    exists that you have violated a condition ofsupervision and that the areas to be searched contain evidence ofthis violation. Any search
     must be conducted at a reasonable time and in a reasonable manner.

 5. A curfew is imposed as a special condition of supervised release. You must comply with the conditions of a curfew from 10:00 p.m.
    until 6:00 a.m. for the period of supervision. During this time, you will remain at your place of residence at all times and shall not
     leave except when such leave is approved in advance by the probation officer.
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                                              CRIMINAL MONETARY PENALTIES

    The defendant must pay the total criminal monetary penalties under the schedule of payments.

                 Assessment       JVTA Assessment *                  Fine                                 Restitution
TOTALS           $100             N/A                                $1,500                               N/A

□     The determination of restitution is deferred until                           . An Amended Judgment in a Criminal Case (A0245C)
      will be entered after such determination.

□     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
       in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be
      paid before the United States is paid.

Name of Payee                                Total Loss**                     Restitution Ordered                  Priority or Percentage




TOTALS


□     Restitution amount ordered pursuant to plea agreement $

□     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the schedule of
      payments may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

□     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     □     the interest requirement is waived for the         □   fine      □ restitution.

     □     the interest requirement for the          □ fine       □ restitution is modified as follows:

* Justice for Victims of trafficking Act of 2015, Pub. L. No. 114-22.
** Findings for the total amount of losses are required under Chapters I09A, 110, 11 OA, and II3A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment ofthe total criminal monetary penalties is due as follows:

A        13 Lump sum payment of$              100                  due immediately, balance due

              □    not later than                                     , or
              3    in accordance       □ C,         □ D,        □ E, or    |3 F below; or

B        □ Payment to begin immediately (may be combined with                     □ C,         □ D, or         □ F below); or

C        Q Payment in equal                            (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                              (e.g., months or years), to commence                    (e.g., 30 or 60 days) after the date of this judgment; or

D        □ Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                        over a period of
                        (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E        □ Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F        13 Special instructions regarding the payment of criminal monetary penalties:
             While in the custody of the Bureau of Prisons, the defendant shall make payments of either quarterly installments of a minimum
             of $25 if working non-UNICOR or a minimum of 50 percent of monthly earnings if working UNICOR. Upon release from
             imprisonment and while on supervised release, the defendant shall make minimum monthly payments of $ ^ over a period of
             30 months. Payments are to be made payable to the Clerk, United States District Court.




Unless the court has expressly ordered otherwise, if this Judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.


The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.


□         Joint and Several
          Defendant and Co-Defendant Names and Case Numbers (including defendant number). Total Amount, Joint and Several Amount,
          and corresponding payee, if appropriate.



□         The defendant shall pay the cost of prosecution.
□         The defendant shall pay the following court cost(s):
□         The defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) JVTA Assessment, (8) penalties, and (9) costs, including cost of prosecution and court
costs.
